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                          IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH




                                                           MEMORANDUM DECISION
                                                                 AND ORDER
   LAW OFFICE OF SAMUEL P. NEWTON;                          GRANTING IN PART AND
        and SAMUEL P. NEWTON,                                 DENYING IN PART
                Plaintiffs,                                  DEFENDANTS’ MOTION
                    v.                                     FOR SUMMARY JUDGMENT.
   WEBER COUNTY; JAMES H. HARVEY;
    KERRY W. GIBSON; and CHARLES J.                      Civil No. 1:18-cv-000015-HCN-DAO
                 EBERT,
               Defendants.                                      Howard C. Nielson, Jr.
                                                              United States District Judge

                                                                 FOR PUBLICATION




        Plaintiffs, Samuel P. Newton and his law firm, the Law Offices of Samuel P. Newton,

 sued Defendants Weber County and its three Commissioners, alleging that Defendants’

 termination of Mr. Newton’s contract with the County violated his First Amendment rights and

 that Defendants conspired against him to obstruct justice in violation of 42 U.S.C. § 1985(2).

 Defendants have moved for summary judgment. For the following reasons, Defendants’ motion

 is granted in part and denied in part.
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                                                 I.

        Samuel Newton is a criminal defense attorney who specializes in handling appeals. He

 has extensive experience in his field: among other things, he worked with the Salt Lake Legal

 Defenders Association for seven years.1

        Weber County contracted with Mr. Newton to represent indigent criminal defendants on

 appeal, and it renewed that contract on January 1, 2017. Under the contract, Mr. Newton

 “agree[d] to provide competent legal counsel to any person convicted of a felony or a

 misdemeanor who is deemed by a district or justice court in Weber County to be indigent.” Dkt.

 No. 33-3 at 2.

        Weber County separately contracted with Mr. Newton to represent Doug Lovell, a capital

 defendant. See Dkt. No. 33-4. Mr. Lovell’s case has a protracted history. The murder with which

 he was charged occurred 35 years ago, and his prosecution has involved multiple trips to the

 Utah Supreme Court. See, e.g., State v. Lovell, 262 P.3d 803 (Utah 2011); State v. Lovell, 114

 P.3d 575 (Utah 2005); State v. Lovell, 984 P.2d 382 (Utah 1999).

        After his previous conviction and sentence were vacated, Mr. Lovell was again convicted

 and sentenced to death in 2015. The County hired Mr. Newton to represent Mr. Lovell on appeal

 to the Utah Supreme Court. The contract contemplated that Mr. Newton would be paid $150 per

 hour for up to 500 hours of work—for a potential total of $75,000—though the contract provided

 that Mr. Newton could obtain additional compensation “upon showing of good cause to both the

 court and the County.” Dkt. No. 33-4 at 3.




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           Given that Defendants have moved for summary judgment, the court recites the facts in
 the light most favorable to Plaintiffs. See Scott v. Harris, 550 U.S. 372, 378 (2007).


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         Mr. Newton’s initial advocacy was successful. The State did not oppose his motion to

 remand the case for an additional fact-finding hearing regarding the constitutional adequacy of

 Mr. Lovell’s representation during his 2015 sentencing proceedings. And the Utah Supreme

 Court “temporarily remanded for an evidentiary hearing” regarding trial counsel’s decision not to

 call various potential witnesses, his allegedly inadequate preparation or examination of several

 witnesses who did testify, and his allegedly insufficient preparation of a mitigation specialist

 during the sentencing stage. Dkt. No. 33-8 at 2–3. Prior to obtaining this relief, Mr. Newton filed

 both an opening brief and an 89-page remand motion. See Dkt. No. 33-5 (motion to remand).

         After the remand order issued, Mr. Newton informed the County that he had already

 worked more than the allotted 500 hours on Mr. Lovell’s representation, and he requested more

 money both to represent Mr. Lovell on remand and then to file a reply brief in the Utah Supreme

 Court addressing the issues developed at the evidentiary hearing. See Dkt. No. 33-12 at 3; see

 also Dkt. No. 33-6 (letter prior to remand). Mr. Newton estimated that completing Mr. Lovell’s

 case would take 500–750 additional hours. See Dkt. No. 33-12 at 2. Among other things, Mr.

 Newton indicated that he needed to interview each of the witnesses that trial counsel had failed

 to call. See id.

         Defendant Commissioner Harvey responded, indicating that “the county [was] prepared

 to provide [Mr. Newton] with an additional $15,000 to finish this appeal.” Dkt. No. 33-12 at 2.

 Commissioner Harvey explained:

                 While we recognize that the remand of the Lovell case was unanticipated
         in the original contract and will cause you additional work, we don’t agree that it
         will take an additional 500 to 750 hours to complete that work. It is highly likely
         that the majority of the witnesses you wish to call will have little to no helpful
         information. As such, we estimate that it will only take approximately one week,
         or 40 hours, to conduct the hearings, 40 hours to prepare for the hearings, and
         another 20 hours to revise your initial brief. The total additional hours of work



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         should in no way exceed 100. At $150 per hour that would equal a total of
         $15,000.

 Id. The County offered this additional money for the remand proceeding only, explaining that

 “[t]he $75,000 that was provided to you initially was intended to cover the Reply brief which

 shouldn’t be impacted by this remand, so we are not offering additional compensation for that.”

 Id. Mr. Newton later testified at his deposition that he understood from this email that “[the

 County was] going to take a pretty hard line on $15,000”—that is, the 100 additional hours of

 work the County had approved for the remand. Dkt. No. 33-2 at 52.

         The same day Mr. Newton responded:

                  The Supreme Court’s remand contemplates over two dozen witnesses. It
         names 22, but I think I will have to call three or four other witnesses for much
         closer to 25 or 26 witnesses. I don’t think their testimony is insignificant. I have
         interviewed most of them personally and find that their testimony would have
         been compelling in Mr. Lovell’s case. I wouldn’t have raised the issue if I did not
         think it meritorious. Indeed, I think it’s important to consider that the Supreme
         Court deemed the issues I raised worthy of remand and required the trial court to
         consider that evidence.

 Dkt. No. 33-13 at 2. Mr. Newton also asked for more negotiation:

                What if we consider a few options: what if the county authorizes some
         funds now and we can revisit it as things go along? Say authorize past work and
         100 hours of future work. At 100 hours, I can give you a better estimate of where
         we are and what it will take. Perhaps I will have over-estimated and we won’t
         need any or much more.

                 If this does not work, I will need to, as soon as possible, file a motion with
         the district court for funding or to allow me to withdraw as his attorney.

 Id. at 2–3.

         After the County failed to respond for five days, Mr. Newton filed a motion for attorney

 fees on March 20, 2017. Dkt. No. 33-14; see also Dkt. No. 33-15 at 4. That motion quoted much

 of his most recent email to the County. See Dkt. No. 33-14 at 4–5, n.1. Mr. Newton asked the

 court to preauthorize 200 hours, at which point Mr. Newton would update the court regarding the



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 need for additional work. Id. at 4. Mr. Newton also explained that he had “now expended time

 and funds well beyond what Weber County has agreed to pay since the County has not

 authorized any payments since the beginning of the year.” Id. at 3. Mr. Newton represented that,

 nevertheless, he had already “worked $11,000 over that amount without compensation” and was

 “continu[ing] to work on the case without compensation.” Id. Mr. Newton also stated that

 “counsel has been unable (because of a lack of funding) to interview” some of the relevant

 witnesses and “would need some investigative resources so his investigator could speak with

 those witnesses prior to their testimony.” Id.

        On March 23, 2017, the County responded to Mr. Newton’s email and opposed his

 motion for fees. In the email, Commissioner Harvey stated that the County agreed to pay for 100

 hours of additional work, but not to pay for extra work that Mr. Newton had already performed:

                 While it’s uncertain how much time and effort will need to be put into the
        evidentiary hearings and revising the initial brief, 100 hours seems to be a
        reasonable estimate. If the remand takes longer than 100 hours, and you can
        justify the additional time, we will remain open to another request for additional
        funding.

                Any work that has been completed to date and any work required for the
        reply brief or oral arguments we consider covered under the initial $75,000
        amount.

 Dkt. No. 33-15 at 28.

        In its brief, the County argued that

        [b]ecause it has been 25 years since Defendant was first convicted, there is a high
        likelihood that many of the witnesses remember little about Defendant. After
        contacting those witnesses through his investigator, Mr. Newton may even decide
        that many of them don’t need to appear in court to testify on the record. Even if
        some of the witnesses have relevant information, it is highly speculative that it
        will take a full 10 to 15 days to question them.

 Dkt. No. 33-15 at 8. The County also represented that although “Mr. Newton argues in

 Defendant’s Motion that he doesn’t have an investigator . . . his contract specifically provides


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 that Mr. Newton will be reimbursed for investigator fees at the rate of $60 per hour.” Id. at 6

 (citation omitted). It added that “Mr. Newton is well aware of that provision as he has hired an

 investigator for this case in the past.” Id.

         After the briefs were filed, Mr. Newton continued to negotiate further with Deputy

 County Attorney Bryan Baron. On April 10th, Mr. Baron wrote:

                 As I understand the [Commissioners’] position, they have pre-approved
         100 hours to go towards the work that is required on the remand. That includes
         the evidentiary hearing and reworking your initial brief. The county will not
         release additional funds until that work has been done. Any other work (e.g., the
         last invoice for 2016 as well as any work that is required for your reply brief and
         oral arguments) should be covered by the $75,000.

 Dkt. No. 33-17 at 3.

         Mr. Newton responded within a half-hour:

                 Bryan, I sure hope I’m misunderstanding. Is the county’s position that
         they will not pay me for over $7,000 of work I have already done on this case and
         will only pay me for future work? The end of last year’s invoice was related to
         preparing the brief, which was over 300 pages, before the State stipulated to a
         remand. The stuff this year has had to do with responding to the Motion for 23B
         remand (which the Supreme Court granted), issues with Doug Lovell’s bar
         complaint (which I was asked to testify to by the bar and which the Supreme
         Court screening panel recommended a formal district court proceeding against
         Sean Young) and responding to the AG’s subpoenas for the 23B remand. All of
         the work to date has been related to getting the brief and remand motion ready
         and dealing with issues related to the now granted remand. There would be a
         significant number of hours I would have to donate to this case and as a solo
         practitioner, I cannot afford to work for free on this.

                Anyway, unless I’m misunderstanding, it sounds like I need to file a reply
         and ask for a hearing with Judge DiReda. If you’re willing to stipulate and avoid
         the hearing, let me know.

 Id. at 2.

         Mr. Baron replied the next day:

                The commissioners’ position is that you signed a contract to handle this
         appeal for $75,000. . . .




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                 If you want to make a request for additional funding for the time you spent
         putting together the 23B motion, I’m sure they would be willing to consider that,
         but they are not open to paying you additional money for the oral arguments or
         the reply brief because those were both contemplated in the original contract.

 Dkt. No. 33-17 at 2.

         Mr. Newton next filed a reply brief in support of his motion for attorneys’ fees. He

 argued that he should be paid for the work that he had not been paid for. Dkt. No. 33-18 at 5.

 While he speculated that “this issue will imminently escalate to greater detriment to Mr. Lovell

 when the county refuses to fund anything beyond its offer of $15,000 which Mr. Lovell contends

 is not adequate for the remainder of work to be done,” id., he also acknowledged that “the county

 argues that counsel is being generously compensated, and he will continue to be compensated so

 long as he justifies the expenditure,” id. at 3 (cleaned up). Ultimately, the state trial court

 concluded that it lacked jurisdiction to rule on Mr. Newton’s motion. See Dkt. No. 33-20.

         The disputes about payment continued. The County sent Mr. Newton a payment but, on

 May 22, Mr. Baron explained to Mr. Newton that he had been paid in error:

                 I followed up with the Clerk/Auditor’s Office, and they have paid the
         March 31st invoice. Although they were instructed not to pay the Lovell
         Litigation Expenses, those were accidentally paid as well. Unless you would
         prefer to refund that $3,360 to the county, I’ll deduct it from the $15,000 that was
         pre-approved for the evidentiary hearing work.

 Dkt. No. 33-19 at 12. In the email, Mr. Baron also disagreed with assertions Mr. Newton made in

 his Reply Brief:

                 The county has never said that you wouldn’t be allowed additional
         funding. In fact, in the very email that you attached to your Reply as Exhibit A, I
         stated that “if you want to make a request for additional funding for the time you
         spent putting together the 23B motion, I’m sure [the County Commissioners]
         would be willing to consider that.”




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                The key is that requests for additional funding have to be supported by
         “good cause.” You can’t just demand that all of your invoices be paid without
         question.

 Id. at 13.

         Responding, Mr. Newton stated that

                 I guess I did misunderstand the county’s position. There’s quite a bit of
         discussion about how I only get $15,000 for preparing for this new hearing and
         revising the brief and the reply brief but that I wouldn’t get anything beyond that.
         I know it’s going to be significantly more than that. I just ran a report for 4/1 to
         present and I’ve spent about $3600 and I haven’t even started the bulk of the
         preparations, which will probably take 10 times that number if not more. I’ve had
         to respond to the State’s motion to provide all of Doug’s file to them, including
         privileged attorney-client information. If that goes the way the Utah Supreme
         Court has dictated these should go, I will have to prepare a master index of
         Doug’s file, which is enormous and we’ll have to litigate the particulars of
         disclosure of this information. That process alone may take months and may delay
         his hearings. We’ll have to have a hearing on that coming up. I still have yet to
         use an investigator or get the investigation process going because I’m not sure I
         can guarantee her that she’ll be paid (unless you think otherwise).

 Dkt. No. 33-7 at 2. Mr. Newton then requested additional funding for the 23B Motion and

 remand and also submitted an invoice for time that he attributed to these matters. Id. at 3.

         Mr. Baron replied:

                 I attended a meeting with elected officials here in the county, and we
         briefly discussed your request for additional funding for the Rule 23B motion.
         The county officials understand your argument as to why the 23B motion was
         necessary, and they are inclined to grant you additional funding for it, but they
         aren’t happy about the cost of $22,500 for the motion and $15,000 for the
         evidentiary hearings.

                 As we got into the specifics of your invoices, the group expressed concern
         that you are taking advantage of the county by overbilling for your services. A
         few examples of their concerns include: (1) billing the county for work related to
         Sean Young’s discipline with the Utah Bar (they are unsure why the county
         should pay anything for that as it is unrelated to your representation of Mr. Lovell
         in the appeal), (2) billing the county for your motion for additional fees and all of
         the work that was associated with that (the county didn’t agree with your request
         for additional fees and neither did the judge, so why should the county pay for the
         time you spent on it?), and (3) billing for the frequent phone calls, letters, and
         meeting with Doug Lovell (they are unsure why you need to communicate with
         him so frequently on an appellate case).
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                 The consensus from the meeting was that unless significant changes are
         made to the invoices and future billing practices, the county needs to look for
         another attorney for future appeals. Again, they don’t have a problem with the
         quality of your work. Their concern is with the amounts that you are billing and
         the items that you are billing them for.

                 I’ve been asked to give you an opportunity to revise your request for
         additional funding for the 23B motion as well as your most recent invoice in light
         of the county’s concerns. Please examine those invoices and resubmit them once
         you have had an opportunity to revise them.

 Dkt. No. 33-21 at 2.

         On June 9, 2017, Mr. Newton filed a motion to withdraw from representing Mr. Lovell.

 Dkt. No. 33-23. He told the court he was owed $100,000 by Salt Lake County in another death

 penalty case and that the stress of that case had caused him heart problems. Id. at 3. Mr. Newton

 again included summaries of his correspondence with the County, noting that

                 [w]hile the county indicated that it would consider granting additional
         funding on the case, counsel has been placed in a veritable catch-22. He can
         abandon his own interests in getting paid and not try to compel the county to pay
         for his services [or] talk or speak with Mr. Lovell less. Additionally, counsel has
         the appellate contract for Weber County, which provides the vast majority of his
         income. In essence, the county has told counsel that he must not bill them for
         what he believes to be necessary work on Mr. Lovell’s case, such as
         communications, or it will terminate him from his major contract. This irreparably
         puts counsel’s and Mr. Lovell’s interests at odds.

 Id. at 5 (citation omitted).

         On June 21, 2017, Mr. Newton responded to a motion the State had filed with the

 Utah Supreme Court regarding Mr. Newton’s potential conflict of interest. See Dkt. No

 26-21. Mr. Newton reiterated his characterization of his dispute with the County and

 stated that “he faces a terrible catch-22: represent Mr. Lovell zealously and lose his

 livelihood or compromise Mr. Lovell’s case and save his practice.” Id. at 7.




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            When it responded to Mr. Newton’s motion to withdraw on August 29, 2017, the County

  disputed Mr. Newton’s characterizations of the funding dispute but did not oppose Mr. Newton’s

  withdrawal. See Dkt. No. 33-25. The state trial court granted the motion. See Dkt. No. 33-26.

            Mr. Newton’s story generated publicity and he gave a number of statements to the press.

  First, the Salt Lake Tribune published a story on July 16, 2017, that focused on Mr. Newton’s

  dispute with the County. See Dkt. No. 33-24. The story reported that “Newton . . . said that

  defense attorneys are not being given enough money to support thorough death penalty case

  reviews—and in the cases for two Utah death row inmates Newton represents, he said he has had

  trouble getting paid.” Id. at 3. It also provided some details regarding Mr. Newton’s dispute with

  the County regarding payment for the Lovell litigation, quoting both Mr. Newton and the

  County. Id. at 3–4.

            Following Mr. Newton’s withdrawal, the Salt Lake Tribune published another article on

  September 2, 2017. See Dkt. No. 33-27. The article quoted Mr. Newton as saying,

            It is unfortunate that I was placed in a position where I had to [choose] between
            supporting my family and representing Mr. Lovell.

                    I hope that the state of Utah and Weber County will commit in the future
            to adequately and fully paying for these necessary appellate reviews in such
            serious matters.

  Id. at 4.

            Similarly, a September 18, 2017, article in the Salt Lake Tribune quoted Mr. Newton as

  saying,

                    The state gives enormous resources to the prosecution . . . . The state must
            similarly commit to equally and adequately support criminal defense attorneys,
            which is a right guaranteed by the United States Constitution. The defense
            attorney, especially a solo practitioner, should not have to personally bear and
            front the financial cost for the enormous review required in a capital case.

  Dkt. No. 33-28 at 6.

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         On October 2, 2017 the Standard-Examiner published an article admonishing the Weber

  County Commission and the Weber County Attorney’s Office “for their slow, clumsy handling

  of funding for Doug Lovell’s capital defense case.” Dkt. No. 33-29 at 3. The article relied on

  court documents filed by Mr. Newton in giving the Weber County Commission and Attorney’s

  Office a “thumbs down” for their management of the Lovell case. Id.

         On October 26, 2017, the County terminated Mr. Newton’s general appellate contract.

  The termination letter, signed by Commissioner Harvey on behalf of the Commissioners, stated

  that

         [w]hile we have appreciated your hard work and dedication, this past year you have made
         various representations to the media and to the court that have been untruthful and
         harmful to the County’s reputation. As a result, we have made the decision to terminate
         your contract and seek appellate counsel.

  Dkt. No. 33-31 at 2.

         Mr. Newton then sued the County and its three Commissioners, alleging that the

  Defendants had violated his First Amendment rights and conspired to obstruct justice.2

  Defendants moved for summary judgment. See Dkt. No. 26. They argued that the termination of

  Mr. Newton’s contract was justified, that the individual county officials were entitled to qualified

  immunity, and that the conspiracy claim lacked merit. See generally id.

                                                    II.

         Pursuant to Federal Rule of Civil Procedure 56, “[t]he court shall grant summary

  judgment if the movant shows that there is no genuine dispute as to any material fact and the

  movant is entitled to judgment as a matter of law.” Material facts are those which “might affect

  the outcome of the suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,



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            Although the Plaintiffs are technically both Mr. Newton and his law offices, the court
  will refer to Mr. Newton as the Plaintiff for convenience.
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  248 (1986). A “dispute about a material fact is ‘genuine’. . . if the evidence is such that a

  reasonable jury could return a verdict for the nonmoving party.” Id. (citation omitted) “Courts

  are required to view the facts and draw reasonable inferences in the light most favorable to the

  party opposing the summary judgment motion.” Scott v. Harris, 550 U.S. 372, 378 (2007)

  (cleaned up).

                                                   III.

         The court first addresses the legal framework that governs Mr. Newton’s First

  Amendment claim.

         In their briefs, the parties evaluated this claim under Pickering v. Board of Education,

  391 U.S. 563 (1968), and its progeny—the line of Supreme Court cases addressing the First

  Amendment rights of government employees or contractors who have been fired, terminated, or

  otherwise disciplined based on their speech. While the parties were certainly correct to address

  these cases, in other precedents, including Legal Services Corp. v. Velazquez, 531 U.S. 533

  (2001), and Polk County v. Dodson, 454 U.S. 312 (1981), the Supreme Court has drawn a sharp

  distinction between ordinary government employees or contractors and attorneys engaged by the

  government to represent indigent individuals in litigation against the government. Prior to oral

  argument, this court instructed counsel to address the potential relevance, if any, of these cases to

  the issues presented in this case. See Dkt. No. 56. At oral argument, counsel for both parties

  acknowledged that these cases are relevant here.

         The court agrees.

                                                   A.

         The Supreme Court has recognized that “[w]hen a citizen enters government service, the

  citizen by necessity must accept certain limitations on his or her freedom.” Garcetti v. Ceballos,



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  547 U.S. 410, 418 (2006). But it “has rejected for decades now the proposition that a public

  employee has no right to a government job and so cannot complain that termination violates First

  Amendment rights, a doctrine once captured in Justice Holmes’ aphorism that although a

  policeman ‘may have a constitutional right to talk politics . . . he has no constitutional right to be

  a policeman.’” O’Hare Truck Service, Inc. v. City of Northlake, 518 U.S. 712, 716–17 (1996)

  (quoting McAuliffe v. Mayor of New Bedford, 29 N.E. 517, 517 (Mass.1892) (Holmes, J.)).

         In the seminal case of Pickering v. Board of Education, the Supreme Court addressed a

  First Amendment claim brought by Mr. Pickering, a public school teacher who had been

  dismissed for submitting a letter to the editor that “[a]ttack[ed] . . . the School Board’s handling

  of . . . bond issue proposals and . . . charged the superintendent of schools with attempting to

  prevent teachers in the district from opposing or criticizing the proposed bond issue.” 391 U.S.

  563, 566 (1968). The Supreme Court squarely rejected the proposition that public employees

  “may constitutionally be compelled to relinquish the First Amendment rights they would

  otherwise enjoy as citizens to comment on matters of public interest.” Id. at 568. It nevertheless

  recognized that the State “has interests as an employer in regulating the speech of its employees

  that differ significantly from those it possesses in connection with regulation of the speech of the

  citizenry in general.” Id. The Court accordingly held that the “the interests of the [public

  employee], as a citizen, in commenting upon matters of public concern” must be balanced

  against “the interest of the State, as an employer, in promoting the efficiency of the public

  services it performs through its employees.” Id.

         The Supreme Court also rejected the argument that Mr. Pickering’s dismissal could be

  justified simply because his letter contained false statements. The Court characterized the case as

  one “in which a teacher has made erroneous public statements upon issues then currently the



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  subject of public attention, which are critical of his ultimate employer but which are neither

  shown nor can be presumed to have in any way either impeded the teacher’s proper performance

  of his daily duties in the classroom or to have interfered with the regular operation of the schools

  generally.” Id. at 572–73. The Court held that “in a case such as this, absent proof of false

  statements knowingly or recklessly made by him, a teacher’s exercise of his right to speak on

  issues of public importance may not furnish the basis for his dismissal from public employment.”

  Id. at 574. Because the Court concluded that Mr. Pickering’s statements “were not knowingly or

  reckless false” it left open “the additional question whether a statement that was knowingly or

  recklessly false would, if it were neither shown nor could reasonably be presumed to have had

  any harmful effects, still be protected by the First Amendment.” Id. at 574 n.6.

         The Supreme Court further clarified the First Amendment rights of government

  employees in Connick v. Myers, 461 U.S. 138 (1983). There, the Court addressed free speech

  claims brought by a district employee who had been fired for distributing a questionnaire

  “soliciting the views of her fellow staff members concerning office transfer policy, office

  morale, the need for a grievance committee, the level of confidence in supervisors, and whether

  employees felt pressured to work in political campaigns.” Id. at 141. The Court limited

  application of the Pickering balancing test to cases where a public employee is disciplined for

  statements that can be “fairly characterized as constituting speech on a matter of public concern.”

  Id. at 146. The Court explained that “when a public employee speaks not as a citizen upon

  matters of public concern, but instead as an employee upon matters only of personal interest,

  absent the most unusual circumstances, a federal court is not the appropriate forum in which to

  review the wisdom of a personnel decision taken by a public agency allegedly in reaction to the

  employee’s behavior.” Id. at 147.



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          Although the Court concluded that most of the questions on the questionnaire implicated

  only private concerns, it found that “one of the questions in Myers’ survey touched upon a matter

  of public concern, and contributed to her discharge.” Id. at 149. The Court therefore found it

  necessary to engage in a “particularized balancing . . . of the competing interests.” Id at 150. The

  Court thus made clear that when a government employee is fired for speech that deals in part

  with matters of public concern and in part with matters of private concern, the Pickering

  balancing test applies.

          In Board of County Commissioners, Wabaunsee County, Kansas v. Umbehr, the Supreme

  Court extended the Pickering test to independent contractors who work for the government. 518

  U.S. 668, 673 (1996). The Court determined that “[i]ndependent government contractors are

  similar in most relevant respects to government employees, although both the speaker’s and the

  government’s interests are typically—though not always—somewhat less strong in the

  independent contractor case.” Id. at 684. The Court also found that “a nuanced approach, which

  recognizes the variety of interests that may arise in independent contractor cases, is superior to a

  bright-line rule distinguishing independent contractors from employees” because a “bright-line

  rule would leave First Amendment rights unduly dependent on whether state law labels a

  government service provider’s contract as a contract of employment or a contract for services, a

  distinction which is at best a very poor proxy for the interests at stake.” Id. at 678–79. The Court

  thus ruled “that independent contractors are protected, and that the Pickering balancing test,

  adjusted to weigh the government’s interests as contractor rather than as employer, determines

  the extent of their protection.” Id. at 673.

          Most recently, the Supreme Court significantly refined the Pickering test in Garcetti v.

  Ceballos, 547 U.S. 410 (2006). There, a Deputy District Attorney was fired after writing a



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  memorandum stating that an “affidavit contained serious misrepresentations” and testifying in

  court about these allegations. Id. at 414, 416–17. The Court determined that the Deputy District

  Attorney had written the memorandum and testified as part of his job, and it held “that when

  public employees make statements pursuant to their official duties, the employees are not

  speaking as citizens for First Amendment purposes, and the Constitution does not insulate their

  communications from employer discipline.” Id. at 421. Because the Deputy District Attorney

  was “simply performing his . . . job duties,” there was thus “no warrant” to perform “a delicate

  balancing of the competing interests surrounding the speech and its consequences.” Id. at 423.

         The Court explained that “[r]estricting speech that owes its existence to a public

  employee’s professional responsibilities does not infringe any liberties the employee might have

  enjoyed as a private citizen. It simply reflects the exercise of employer control over what the

  employer itself has commissioned or created.” Id. at 421–22. In reaching this conclusion, the

  Court relied on the frequently reiterated principle that “when the government appropriates public

  funds to promote a particular policy of its own it is entitled to say what it wishes.” Id. at 422

  (quoting Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 833 (1995), in turn

  quoting Rust v. Sullivan, 500 U.S. 173, 194 (1991)). The Court also reasoned that “[e]mployers

  have heightened interests in controlling speech made by an employee in his or her professional

  capacity. Official communications have official consequences, creating a need for substantive

  consistency and clarity. Supervisors must ensure that their employees’ official communications

  are accurate, demonstrate sound judgment, and promote the employer’s mission.” Id. at 422–23.

                                            *       *       *




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         From this line of cases, the court draws the following test that courts should apply to

  most government employees or contractors who are disciplined because of their speech:3

         First, the court asks whether the government employee or contractor spoke pursuant to

  his or her official duties. If so, the government prevails. See Garcetti, 547 U.S. at 421, 423.

         Otherwise, the court asks whether the employee or contractor spoke at least in part on a

  matter of public concern. “If the answer is no, the employee has no First Amendment cause of

  action based on his or her employer’s reaction to the speech.” Garcetti, 547 U.S. at 418; see also

  Connick, 461 U.S. at 147.

         If the employee or contractor’s speech does relate to a matter of public concern, the court

  asks whether it was knowingly or recklessly false. See Pickering, 391 U.S. at 574. If it was, the

  government may well prevail without further inquiry. See, e.g., Brenner v. Brown, 36 F.3d 18, 20

  (7th Cir. 1994) (holding that “an employee’s speech is not protected where it is . . . made with

  reckless disregard for the truth”); Gossman v. Allen, 950 F.2d 338, 343 (6th Cir. 1991)

  (“Pickering does not prevent a public employer from terminating employees who knowingly or

  reckless make false statements.”). At a minimum, the recklessly false character of the speech

  weighs heavily in favor of the government at the next stage of the analysis. See, e.g., Johnson v.

  Multnomah County, 48 F.3d 420, 424 (9th Cir. 1995) (“[R]ecklessly false statements are not per

  se unprotected by the First Amendment when they substantially relate to matters of public

  concern. Instead, the recklessness of the employee and the falseness of the statements should be




         3
           Although it believes that its formulation of this test is fully consistent with Supreme
  Court and Tenth Circuit precedent, the court recognizes that its formulation is considerably more
  granular than frequently recited alternatives. See, e.g., Lane v. Franks, 573 U.S. 228 (2014);
  Dixon v. Kirkpatrick, 553 F.3d 1294 (10th Cir. 2009).
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  considered in light of the public employer’s showing of actual injury to its legitimate interests, as

  part of the Pickering balancing test.”).4

         Finally, if the government has not prevailed at an earlier stage of the inquiry, the court

  balances the government’s interests against those of the terminated employee or contractor. See

  Pickering, 391 U.S. at 568; Umbehr, 518 U.S. at 673.

         The question becomes whether the relevant government entity has an adequate
         justification for treating the employee differently from any other member of the
         general public. This consideration reflects the importance of the relationship
         between the speaker’s expressions and employment. A government entity has
         broader discretion to restrict speech when it speaks in its role as employer, but the
         restrictions it imposes must be directed at speech that has some potential to affect
         the entity’s operations.

  Garcetti, 547 U.S. at 418 (internal citation omitted).5

                                                   B.

         Although Pickering and its progeny provide a general framework governing the First

  Amendment rights of government employees and contractors, the court concludes that these are

  not the only precedents relevant to the specific controversy here. In a separate line of cases, the

  Supreme Court has addressed the government’s relationship with the attorneys it engages to


         4
           Like the Supreme Court, see Pickering, 391 U.S. at 574 & n.6, the Tenth Circuit has left
  this question open. See Moore v. City of Wynnewood, 57 F.3d 924, 933 (10th Cir. 1995) (“We
  may assume that deliberately or recklessly false statements by public employees are either
  unprotected by the First Amendment or, at least, that such intentional falsity would weigh
  heavily against protection.”); Wulf v. City of Wichita, 883 F.2d 842, 858 (10th Cir. 1989) (“[A]
  knowingly or recklessly false statement is unlikely to be protected under the First Amendment,
  although the Supreme Court has left open the possibility that even such a statement might merit
  First Amendment protection where no harmful effects can be shown.”). As the authorities cited
  above illustrate, other courts of appeals have adopted varying views. See generally Howard C.
  Nielson, Jr., Recklessly False Statements in the Public-Employment Context, 63 U. Chi. L. Rev.
  1277 (1996) (discussing split in authority on this issue).
         5
           In addition to these factors, courts consider “whether the protected speech was a
  motivating factor in the adverse employment action” and “whether the defendant would have
  reached the same employment decision in the absence of the protected conduct.” Dixon, 553
  F.3d at 1302.
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  represent indigent litigants. The court concludes that when the government seeks to discipline

  such attorneys based on their speech, these cases significantly limit both the application of

  Garcetti and the relevant government interests that may be considered under the Pickering

  balancing test.

         As discussed, in concluding “that when public employees make statements pursuant to

  their official duties, . . . the Constitution does not insulate their communications from employer

  discipline,” the Court relied on the principle, previously articulated in Rust and Rosenberger, that

  “when the government appropriates public funds to promote a particular policy of its own it is

  entitled to say what it wishes.” Garcetti, 547 U.S. at 421– 22. The Court thus gave significant

  weight to the government’s interests in exercising “control over what the [government] itself has

  commissioned or created,” and ensuring that public “employees’ official communications . . .

  promote the [government’s] mission.” Id. at 422, 423.

         But in our adversarial legal system, when the government hires or contracts with

  attorneys to represent indigent criminal defendants or other litigants in suits against it, the role of

  those attorneys is to convey speech that opposes the position of the government.

         In Legal Services Corp. v. Velazquez, the Supreme Court held unconstitutional a law

  purporting to limit the types of arguments that could be made in welfare benefits claims against

  the government by attorneys receiving federal grants to enable them to provide free

  representation to indigent clients. See 531 U.S. 533, 536–37 (2001). The Court concluded that

  the rule enunciated in Rust and Rosenberger, on which the court later relied in Garcetti, did not

  apply in this context. See Legal Services Corp., 531 U.S. at 541–43.

         As the Court explained, the Legal Services Corporation (“LSC”) program was not

  intended “to promote a governmental message.” Id. at 542. Rather, “[t]he Government has



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  designed this program to use the legal profession and the established Judiciary of the States and

  the Federal Government to accomplish its end of assisting welfare claimants in determination or

  receipt of their benefits.” Id.; see also id. (“Congress funded LSC grantees to provide attorneys

  to represent the interests of indigent clients.”). Thus, when

          an LSC-funded attorney speaks on behalf of the client in a claim against the
          government for welfare benefits . . . [t]he lawyer is not the government’s speaker.
          The attorney defending the decision to deny benefits will deliver the
          government’s message in the litigation. The LSC lawyer, however, speaks on
          behalf of his or her private, indigent client.

  Id. It followed, the Court held, that “[t]he advice from the attorney to the client and the advocacy

  by the attorney to the courts cannot be classified as governmental speech even under a generous

  understanding of the concept.” Id. at 542 –543; see also id. at 543 (holding that “[i]n this vital

  respect this suit is distinguishable from Rust”).

          The Court in Legal Services Corp. relied on its previous decision in Polk County v.

  Dodson, which held that “a public defender does not act ‘under color of state law’ because he

  ‘works under canons of professional responsibility that mandate his independent judgment on

  behalf of his client’ and because there is an ‘assumption that counsel will be free of state

  control.’” Legal Services Corp., 531 U.S. at 542 (quoting Polk County, 454 U.S. 312, 321–22

  (1981)). In Polk County, the Supreme Court relied extensively on the role and duties of defense

  attorneys in distinguishing attorneys paid by the government from other public employees:

          In our system a defense lawyer characteristically opposes the designated
          representatives of the State. The system assumes that adversarial testing will
          ultimately advance the public interest in truth and fairness. But it posits that a
          defense lawyer best serves the public, not by acting on behalf of the State or in
          concert with it, but rather by advancing “the undivided interest of his client.”

  454 U.S. at 318–19 (quoting Ferri v. Ackerman, 44 U.S. 193, 204 (1979)). As the Court further

  explained, “[t]his is essentially a private function, traditionally filled by retained counsel, for

  which state office and authority are not needed.” Polk County, 454 U.S. at 319; see also id. at
                                                      20
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  318 (Public defender’s assignment to represent criminal defendant “entailed functions and

  obligations in no way dependent of state authority.”). Indeed, “[e]xcept for the source of

  payment,” the relationship between a public defendant and his or her client is “identical to that

  existing between any other lawyer and client. ‘Once a lawyer has undertaken the representation

  of an accused, the duties and obligations are the same whether the lawyer is privately retained,

  appointed, or serving in a legal aid or defender program.’” Id. at 318 (quoting ABA Standards

  for Criminal Justice 4-3.9 (2d ed. 1980)).

         The Court in Polk County then expressly rejected the argument that “a public defender’s

  employment relationship with the State, rather than his function, should determine whether he

  acts under color of state law.” Polk County, 454 U.S. at 319. The Court acknowledged that “the

  employment relationship is certainly a relevant factor,” but found it outweighed by two other

  considerations:

                 First, a public defender is not amenable to administrative direction in the
         same sense as other employees of the State. Administrative and legislative
         decisions undoubtedly influence the way a public defender does his work. State
         decisions may determine the quality of his law library or the size of his caseload.
         But a defense lawyer is not, and by the nature of his function cannot be, the
         servant of an administrative superior. Held to the same standards of competence
         and integrity as a private lawyer, . . . a public defender works under canons of
         professional responsibility that mandate his exercise of independent judgment on
         behalf of the client. “A lawyer shall not permit a person who recommends,
         employs, or pays him to render legal services for another to direct or regulate his
         professional judgment in rendering such legal services.”

  Id. at 321 (quoting DR 5-107(B), ABA Code of Professional Responsibility (1976)).

                 Second, and equally important, it is the constitutional obligation of the State to
         respect the professional independence of the public defenders whom it engages. This
         Court’s decision in Gideon v. Wainwright established the right of state criminal
         defendants to the “guiding hand of counsel at every step in the proceedings against
         them.” Implicit in the concept of a “guiding hand” is the assumption that counsel will be
         free of state control. There can be no fair trial unless the accused receives the services of
         an effective and independent advocate.

  Id. at 321–22 (quoting Gideon, 372 U.S. 335, 345 (1963) (cleaned up)).

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         To be sure, neither Legal Services Corp. nor Polk County directly addressed the

  government’s authority to terminate an attorney whom it has engaged to represent criminal

  defendants based on the attorney’s speech. The Supreme Court thus had no occasion in either

  case to consider how the Pickering test would apply in this context.

         But after comparing the rationale of these cases to the rationale of Pickering and

  Garcetti, this court concludes that Legal Services Corp. and Polk County substantially limit the

  government’s authority in this context and thus require modification of the Pickering/Garcetti

  framework in at least two significant respects. First, because defense attorneys’ advocacy for

  their clients “cannot be classified as governmental speech even under a generous understanding

  of the concept,” Legal Services Corp., 531 U.S. at 542–43, the court cannot treat statements

  made “pursuant to their official duties” as per se unprotected by the First Amendment, Garcetti,

  547 U.S. at 421. In this context, it is emphatically not the case that “[r]estricting speech that

  owes its existence to a public employee’s professional responsibilities . . . simply reflects the

  exercise of employer control over what the employer itself has commissioned or created.” Id. at

  421–22.

         Second, because “it is the constitutional obligation of the State to respect the professional

  independence of the public defenders whom it engages,” Polk County, 454 U.S. at 321–22, the

  court finds that, for purposes of any particularized balancing of the competing interests of the

  government and the attorney under Pickering and its progeny, the governmental interests that

  may justify terminating or disciplining the attorney are much more limited than in the case of

  other government employees or independent contractors. While the government may have some

  interest in regulating “certain administrative and possibly investigative functions” performed by

  the attorneys it engages to represent criminal defendants, such attorneys are simply “not



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  amenable to administrative direction in the same sense as other employees of the State.” Id. at

  321, 325.6

                                                  C.

         To be sure, three lower court decisions have applied the Pickering/Garcetti framework to

  public defenders or other attorneys appointed to represent criminal defendants without

  modification. But none of these decisions persuade this court that Legal Services Corp. and Polk

  County do not apply here.

         In Jacobson v. Schwarzenegger, a magistrate judge rejected the argument that Legal

  Services Corp. altered application of the Pickering test in a suit brought by a terminated attorney

  who had represented parolees. The court held that “there is nothing in Garcetti to suggest that the

  Supreme Court contemplated that there would be exceptions to its scope—situations where a

  public employee’s or contractor’s speech would be deemed protected by the First Amendment

  even though the speech fell within the scope of his or her professional duties.” 650 F. Supp. 2d

  1032, 1055 (C.D. Cal. 2009). But the court in Jacobson failed even to recognize, let alone

  grapple with, the essential point that speech made on behalf of a client by an attorney engaged to

  oppose the government’s views “cannot be classified as governmental speech even under a



         6
            The court’s holding is consistent with at least some commentary on Garcetti. One
  commentator noted that “[a]s Garcetti recognized, ‘the First Amendment protects a public
  employee’s right, in certain circumstances, to speak as citizens addressing matters of public
  concern.’ A public defender’s speech when serving in the traditional role of a criminal defense
  attorney would qualify for this protection. The government, as defender program employer,
  violates a staff public defender’s First Amendment rights by restricting or restraining that staff
  lawyer from exercising his or her independent professional judgment on behalf of the indigent
  client.” See J. Vincent Aprile II, Public Defenders, Official Duties, and the First Amendment, 22
  Crim. Just. 5 (2007) (quoting Garcetti, 547 U.S. at 417). Another commentator observed that the
  difference in nature between the speech of a public defender and the speech of a prosecutor
  appears “to have influenced” the differing outcomes in Legal Services Corp. and Garcetti.
  Elizabeth Dale, Employee Speech & Management Rights: A Counterintuitive Reading of Garcetti
  v. Ceballos, 29 Berkeley J. Emp. & Lab. L. 175, 210 (2008).
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  generous understanding of the concept,” Legal Services Corp., 531 U.S. at 542–43, and thus

  differs in kind from the speech made by an employee hired to promote or support the

  government’s views—the type of speech at issue in Garcetti.

         In another case, the Third Circuit recently applied the Pickering test in rejecting a First

  Amendment claim brought by a public defender without citing Legal Service Corp. or Polk

  County. See De Ritis v. McGarrigle, 861 F.3d 444 (3d Cir. 2017). But in that case the public

  defender was fired by a superior in the public defenders’ office. In such a case, the superior may

  well have had an interest in ensuring that his subordinate’s “official communications are

  accurate, demonstrate sound judgment, and promote the [public defenders’ office’s] mission.”

  Garcetti, 547 U.S. at 423. The Third Circuit ruled in favor of a public defender in another case,

  but it suggested there that the public defender’s speech was outside his “ordinary job duties”

  under Garcetti rather than relying on Legal Services Corp. and Polk County. See Flora v. County

  of Luzerne, 776 F.3d 169, 180 (3d Cir. 2015).

                                                  IV.

         Based on its review of the record here, the court concludes that genuine issues of material

  fact foreclose summary judgment on Plaintiffs’ First Amendment claim against the County.7

         As noted, the County offered the following contemporaneous explanation for terminating

  Mr. Newton’s contract: “While we have appreciated your hard work and dedication, this past




         7
            While it is well settled “that a local government may not be sued under § 1983 for an
  injury inflicted solely by its employees or agents,” Monell v. Department of Soc. Servs., 436 U.S.
  658, 694 (1978), it is equally clear that a municipality may be held liable for “decisions of its
  duly constituted legislative body or of those officials whose acts may fairly be said to be those of
  the municipality,” Board of County Comm’rs v. Brown, 520 U.S. 397, 404 (1997); see also
  Pembaur v. City of Cincinnati, 475 U.S. 469, 480 (1986). There is little doubt that decisions of
  the individual defendants—the County’s Commissioners—satisfy this standard here, and
  Defendants do not contend otherwise.
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  year you have made various representations to the media and to the court that have been

  untruthful and harmful to the County’s reputation. As a result, we have made the decision to

  terminate your contract and seek appellate counsel.” Dkt. No. 33-31 at 2.

         In this litigation, Defendants claim that Mr. Newton was fired based solely on the

  following statements:

     ● Statements in three court filings and at a court hearing in which Mr. Newton allegedly

         “misrepresented that the County had refused to fund anything beyond $15,000 for the

         remand hearing.” Dkt. No. 26 at 28; id. at 29 (similar).

     ● Statements in multiple filings and to the press in which Mr. Newton allegedly

         “misrepresented that the County would refuse to provide additional funding in the future”

         or otherwise allegedly misrepresented that the County underfunded him. See id. at 28–29.

     ● Statements in multiple filings, at a court hearing, and to the press in which Mr. Newton

         allegedly misrepresented his discussion with the County regarding his billing practices,

         including the discussion regarding the amount of time billed for communications with

         Mr. Lovell. See id.

     ● Statements in multiple filings, at a court hearing, and to the press in which Mr. Newton

         allegedly misrepresented that his general appellate contract was in danger. See id.

     ● Statements in multiple filings in which Mr. Newton allegedly misrepresented the

         availability of funding to hire an investigator. See id.

  Defendants assert that “[w]hile Plaintiff made various other statements to the court and news

  media, the County did not consider those in its decision to terminate Plaintiff’s contract, and




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  there is no evidence that the County considered any other statements beyond those outlined

  above.” Id. at 29.8

                                                    A.

         In their motion for summary judgment, Defendants’ primary argument was that, under

  Garcetti, the County could terminate Mr. Newton’s contract without First Amendment scrutiny

  because all of Mr. Newton’s specific statements that Defendants now claim formed the basis for

  the termination were made “pursuant to his official duties as Lovell’s attorney.” Dkt. No. 26 at

  21. Most of these statements were made in briefing and argument to the court, and Defendants

  maintain that “there is no dispute that Plaintiff’s communications with the court were pursuant to

  his official duty as a defense attorney contracted with the County to represent Lovell.” Id. at 23.

  As for Mr. Newton’s remaining comments that Defendants allege were also a basis for the

  termination, Defendants argue that “[t]he specific nature of his comments to the news media, as

  well as his apparent intent to use that medium to advocate for his client’s rights, further clarifies

  that Plaintiff [was] commenting in his official role as Lovell’s attorney.” Id. at 24.

         For the reasons discussed, the court rejects the proposition that the government can

  terminate an attorney whom it has engaged to represent indigent criminal defendants based on

  his or her official communications without further First Amendment scrutiny. As noted,

  Defendants conceded this point at oral argument, at least with respect to most speech by such

  attorneys.




         8
           Defendants also represent that the County decided to terminate Mr. Newton’s
  underlying general appellate contract and began looking at options for his replacement at the end
  of August 2017 but that Mr. Newton’s termination was not discussed again until October 2017.
  See Dkt. No. 26-16 at 18, 23–26.
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         Defendants, however, invoke language in Polk County disclaiming any holding that “a

  public defender never acts” under the color of state law, noting that the Court had previously

  “found that a public defender so acted when making hiring and firing decisions on behalf of the

  State,” and leaving open the possibility that “[i]t may be—although the question is not present in

  this case—that a public defender also would act under color of state law while performing

  certain administrative and possibly investigative functions.” 454 U.S. at 324–25 (citing Branti v.

  Finkel, 445 U.S. 507 (1980)). Based on this language, Defendants argue that when defense

  attorneys engaged by the government make official statements related to administrative

  functions, they should be treated the same as other public employees with respect to that speech

  for purposes of Garcetti. Defendants further contend that in making the statements for which he

  was fired, “Newton… was acting in his official capacity in connection with the administration of

  his contract.” Oral Argument at 3:00-4:00. It follows, Defendants argue, that Mr. Newton may be

  fired for these statements without further First Amendment inquiry.

         Even assuming that statements made by attorneys engaged to defend indigent defendants

  in the course of performing certain administrative functions can be viewed as unprotected speech

  similar to that made by ordinary public employees as part of their official duties, the court is

  skeptical whether statements made by such an attorney in court—or even out of court, but on

  behalf of his client—can properly be regarded as furthering only administrative functions. To the

  contrary, when such an attorney “speaks on behalf of the client” he is emphatically “not the

  government’s speaker.” Legal Services Corp., 531 U.S. at 541–43. Indeed, such advocacy

  “cannot be classified as government speech even under a generous understanding of the

  concept.” Id. at 542–543.




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         In addition, the communications for which Mr. Newton was fired were bound up with his

  representation of Mr. Lovell and reflected disputes with the County regarding matters that

  implicated Mr. Newton’s “exercise of independent judgment on behalf of the client,” Polk

  County, 454 U.S. at 321, such as whether witnesses were likely to have useful information and

  the proper amount of communication between Mr. Newton and his client. See supra at 3–5. The

  court cannot dismiss these communications as involving only Mr. Newton’s administrative

  functions.

         The court accordingly holds that Mr. Newton could not be terminated for these

  statements without further inquiry under Garcetti solely because he made them in the course of

  his official duties representing Mr. Lovell.

                                                    B.

         The court likewise rejects the County’s argument that Mr. Newton could be terminated

  without further First Amendment scrutiny because the communications for which he was

  terminated did not involve matters of public concern but instead “were of a personal nature,

  generally related to his contract.” Dkt. No. 26 at 27. Even limiting its inquiry to the specific

  statements that the County now claims formed the basis for the termination, the court cannot say

  that these communications involved “matters only of personal interest” to Mr. Newton. Connick,

  461 U.S. at 147.

         To the contrary, these communications implicated matters such as whether the County

  was underfunding the defense in a high-profile capital case, whether the County was seeking to

  limit Mr. Newton’s communications with his client, and whether the County was second

  guessing and undermining Mr. Newton’s “exercise of independent judgment on behalf of the

  client” despite its “constitutional obligation . . . to respect the professional independence of the



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  public defenders whom it engages.” Polk County, 454 U.S. at 321–22. The court has little doubt

  that to the extent Mr. Newton’s communications implicated these issues, they are “fairly

  characterized as constituting speech on a matter of public concern.” Connick, 461 U.S. at 146.

         And under Connick, so long as the communications for which Mr. Newton was

  terminated involved some matters of public concern, he cannot be fired for those

  communications without further First Amendment inquiry, even if the communications also

  involved matters of only private concern. See id. at 149 (“Because one of the questions in Myers’

  survey touched upon a matter of public concern, and contributed to her discharge, we must

  determine whether Connick was justified in discharging Myers.”) (emphasis added); see also

  Eisenhour v. Weber County, 744 F.3d 1220, 1228–29 (10th Cir. 2014) (when a public

  employee’s motivation for speaking is “personal, as well as public” the employee’s “mixed

  motive is not fatal” to a First Amendment claim).

         In addition, based on its review of the evidence presented by both parties, the court

  concludes that a reasonable jury could find that Mr. Newton was terminated not solely because

  of the specific statements now identified by the County in this litigation but at least in part

  because of other statements he made as well.9 These other statements clearly implicated matters

  of public concern.




         9
            As the Tenth Circuit has explained, “(1) whether the speech was made pursuant to an
  employee’s official duties; (2) whether the speech was on a matter of public concern; [and] (3)
  whether the government’s interests, as employer, in promoting the efficiency of the public
  service are sufficient to outweigh the plaintiff's free speech interests” are “issues of law to be
  decided by the court.” Dixon, 553 F.3d at 1302. “[W]hether the protected speech was a
  motivating factor in the adverse employment action” and “whether the defendant would have
  reached the same employment decision in the absence of the protected conduct,” however “are
  factual issues to be decided by the factfinder.” Id.


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             For example, the Salt Lake Tribune published a July 2017 story that focused on Mr.

  Newton’s dispute with the County. See Dkt. 33-24. The story explained that “Newton . . . said

  that defense attorneys are not being given enough money to support thorough death penalty case

  reviews—and in the cases for two Utah death row inmates Newton represents, he said he has had

  trouble getting paid.” Id. at 3. And in briefing, Mr. Newton argued that the County’s failure to

  adequately fund Mr. Lovell’s defense violated the Constitution. See Dkt. No. 33-14 at 4–7.

             A September 18, 2017 article in the Salt Lake Tribune quoted similar comments from Mr.

  Newton:

                     The state gives enormous resources to the prosecution . . . . The state must
             similarly commit to equally and adequately support criminal defense attorneys,
             which is a right guaranteed by the United States Constitution. The defense
             attorney, especially a solo practitioner, should not have to personally bear and
             front the financial cost for the enormous review required in a capital case.

  Dkt. No. 33-28 at 6.

             The court accordingly holds that both the statements that Defendants now claim formed

  the sole basis of Mr. Newton’s termination and other statements by Mr. Newton that a jury could

  reasonably find also contributed to the termination implicated matters of public concern—at least

  in part.

                                                      C.

             Defendants also argue that they were justified in terminating Mr. Newton’s contract in

  light of “his repeated misrepresentation of material facts, to the court and others, which

  continued after he had been corrected by the County.” Dkt. No. 26 at 27; see also id. at 29

  (arguing that the statements for which Mr. Newton was fired “should not be considered

  protected, as they either misrepresented material facts known to Plaintiff when he made the




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  statement, or he continued to make an incorrect statement after he had been informed of his

  error”).

             Following the Tenth Circuit’s lead, this court will “assume that deliberately or recklessly

  false statements by public employees are either unprotected by the First Amendment or, at least,

  that such intentional falsity would weigh heavily against protection.” Moore, 57 F.3d at 933; see

  also supra n.4. But although Defendants assert that various statements made by Mr. Newton

  were knowingly or recklessly false, the court concludes that a reasonable jury could find that the

  statements were true, or at least that Mr. Newton did not know that they were false and was not

  reckless with regard to their truth or falsity.10 The court thus cannot grant summary judgment for

  the County on the ground that Mr. Newton’s statements were knowingly or recklessly false.

                                                      1.

             Defendants argue that Mr. Newton’s statements that the County had pressured him to

  limit his conversations with Mr. Lovell and had threatened his appellate contract were knowingly

  or recklessly false. For example, Defendants argue that Mr. Newton misrepresented its position

  when he told the court that “[i]n essence, the county has told counsel that he must not bill them

  for what he believes to be necessary work on Mr. Lovell’s case, such as communications, or it

  will terminate him from his major contract.” Dkt. No. 33-23 at 5.

             But, as explained, see supra at 8, the County had sent Mr. Newton an email expressing

  “concern that you are taking advantage of the county by overbilling for your services,” listing




             10
            This court agrees with other courts that have held that, for purposes of the Pickering
  analysis, whether statements are in fact false and whether false statements were made knowingly
  or recklessly are jury questions. See, e.g., Ely v. Dearborn Heights Sch. Dist. No. 7, 150 F. Supp.
  3d 842, 851–52 (E.D. Mich. 2015), aff’d, 655 F. App’x 495 (6th Cir. 2016); Shands v. City of
  Kennett, 993 F.2d 1337, 1342 (8th Cir.1993); Bennis v. Gable, 823 F.2d 723, 729 (3rd Cir.
  1987); Biggs v. Village of Dupo, 892 F.2d 1298, 1300 n.1 (7th Cir. 1990).
                                                     31
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  “billing for the frequent phone calls, letters, and meeting with Doug Lovell” as an example of

  this concern, stating that “unless significant changes are made to the invoices and future billing

  practices, the county needs to look for another attorney for future appeals,” and inviting Mr.

  Newton to “revise . . . your most recent invoice in light of the county’s concerns” and to

  “examine those invoices resubmit them once you have had an opportunity to revise them.” Dkt.

  33-21 at 2. The court finds that a reasonable jury could find that Mr. Newton reasonably—or

  even correctly—interpreted this email as pressuring him to limit his conversations with Mr.

  Lovell.

            To the extent Defendants argue that the email was a request for additional justification for

  the billed hours rather than a request to bill fewer hours, see Oral Argument at 15:00, the court

  concludes that a reasonable jury could find that this is a less natural reading of the email—which

  requested not that Mr. Lovell justify his time with Mr. Lovell but that he “revise” his invoice “in

  light of the county’s concerns”—and that the more natural reading was corroborated by other

  efforts by the County to second-guess Mr. Newton’s litigation judgments, such as his opinions

  regarding the importance of potential witnesses. See Dkt. No. 33-15 at 8; Dkt. No. 33-12 at 2.

            A reasonable jury could also find that Mr. Newton’s understanding of the email was

  supported by the fact that the County had raised a similar concern in July 2016. See Dkt. No. 33-

  44 at 2–3. The jury could find that the County’s repetition of this concern reflected pressure not

  for Mr. Newton to better justify his conversations with Mr. Lovell, but to reduce them.

            A reasonable jury could likewise find that Mr. Newton correctly—or at least

  reasonably—understood the email’s explicit statement that “unless significant changes are made

  to the invoices and future billing practices, the county needs to look for another attorney for

  future appeals,” Dkt. No. 33-21 at 2, as a threat to his general appellate contract.



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         For all of these reasons, the court cannot say, as a matter of law, that Mr. Newton’s

  statements that the County had pressured him to reduce his communications with Mr. Lovell and

  threatened his appellate contract were false—let alone knowingly or recklessly false.

                                                   2.

         Defendants also contend that Mr. Newton knowingly or recklessly misrepresented that

  the County would not pay more than the $15,000 for the remand proceedings and that it would

  refuse requests for additional funding. There is no question that Mr. Newton did make such

  statements, repeatedly. But based on the record here, the court concludes that a reasonable jury

  could find that these statements were not knowingly or recklessly false.

         First, a reasonable jury could find that Mr. Newton acknowledged that additional funding

  was technically available. As explained, see supra at 3–4, in two of his three briefs raising this

  concern, Mr. Newton acknowledged the possibility that the County might in fact provide

  additional funds. For example, although in his reply brief Mr. Newton speculated that “this issue

  will imminently escalate to greater detriment to Mr. Lovell when the county refuses to fund

  anything beyond its offer of $15,000 which Mr. Lovell contends is not adequate for the

  remainder of work to be done,” Dkt. No. 33-18 at 5, he also acknowledged that “the county

  argues that counsel ‘is being generously compensated, and he will continue to be compensated’

  so long as he justifies the expenditure,” id. at 3. And in the first brief, Mr. Newton noted that he

  had not yet been paid, but did not assert that he would never be paid.

         Second, a reasonable jury could find that these statements were simply predictions based

  on past experience and that Mr. Newton had good reason to be skeptical that the County would

  in fact authorize additional funding despite its technical availability under the contract. Indeed,

  Commissioner Harvey had said the hours spent on the remand “should in no way exceed 100.”



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  Dkt. No. 33-12 at 2. The County had also repeatedly taken a hard line on providing more than

  $75,000 for Mr. Newton’s work on the appeal, even though this limit was in theory a soft cap.

  See Dkt. No. 33-15 at 28. Commissioner Harvey had indicated that no more funding would be

  authorized for the appeal beyond the $75,000 that had already been exhausted: “[t]he $75,000

  that was provided to you initially was intended to cover the Reply brief which shouldn’t be

  impacted by this remand, so we are not offering additional compensation for that.” Dkt. No. 33-

  12 at 2. Mr. Baron likewise explained that “[t]he commissioners’ position is that you signed a

  contract to handle this appeal for $75,000, [and that] they are not open to paying you for

  additional money for the oral arguments or the reply brief because those were both contemplated

  in the original contract.” Dkt. No. 33-17 at 2. In addition, the County was refusing to pay Mr.

  Newton’s invoices—indeed, it appears that the only 2017 payment that had been made at the

  time of Mr. Newton’s statements was paid by mistake. See Dkt. No. 33-19 at 12.11

         Viewing the facts in the light most favorably to Mr. Newton, the court cannot say as a

  matter of law that his statements that the County would not pay more than the $15,000 for the

  remand proceedings and that it would refuse requests for additional funding were knowingly or

  recklessly false.




         11
            Defendants argue that Mr. Newton acknowledged he had misrepresented the County’s
  position. And, to be sure, Mr. Newton began one email with the statement: “I guess I did
  misunderstand the county’s position.” Dkt. No. 33-19 at 4. But for the reasons explained, a
  reasonable jury could find that Mr. Newton’s statements were based not on misunderstanding but
  rather on skeptical prediction. Moreover, a reasonable jury could find that this statement was not
  a genuine acknowledgement of error but simply an attempt to negotiate and lower tensions.
  Indeed, the very next sentence explains Mr. Newton’s reasons for skepticism regarding
  additional payments: “[t]here’s quite a bit of discussion about how I only get $15,000 for
  preparing for this new hearing and revising the brief and the reply brief but that I wouldn’t get
  anything beyond that.” Id. (emphasis added).
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                                                  3.

         Defendants also argue that Mr. Newton falsely stated that he lacked funds for

  investigative resources. For example, Defendants argue that Mr. Newton’s representation to the

  court that “counsel has been unable (because of a lack of funding) to interview” some of the

  relevant witnesses and “would need some investigative resources so his investigator could speak

  with those witnesses prior to their testimony” was false. Dkt. No. 33-14 at 3.

         But a reasonable jury could find that Mr. Newton’s statement reflected concern that the

  County would not provide adequate funding for investigative resources despite the technical

  availability of such funding under the contract. Certainly, Mr. Newton expressed such skepticism

  in his communications with the County. In an email to Mr. Baron he explained: “I still have yet

  to use an investigator or get the investigation process going because I’m not sure I can guarantee

  her that she’ll be paid (unless you think otherwise).” Dkt. No. 33-19 at 7. The court has found

  nothing in the record indicating that Mr. Baron or anyone else guaranteed payment in response to

  this email.

         A reasonable jury could also find that Mr. Newton’s concern was justified. The contract

  authorized only $500 for investigative or expert services, absent court approval, see Utah Code

  Ann. 77-32-305.5; Dkt. No. 33-4 at 3; Dkt. No. 33 at 24, and a reasonable jury could find this

  was not enough to pay for the amount of investigative work that would be required.

         In addition, although the $500 limit could be exceeded with court approval, given how

  hard of a line Mr. Newton believed the County was taking on the $75,000 soft cap for the Lovell

  appeal, a reasonable jury could find that Mr. Newton reasonably feared that the County would




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  take a similarly hard line on the $500 limit for investigative and expert services and oppose any

  requests for judicial approval of funds in excess of this amount.12

         Once again, the court cannot find as a matter of law that Mr. Newton’s statements were

  knowingly and reckless false.

                                                   D.

         Finally, the court cannot find that the County is entitled to summary judgment on the

  ground that its “interests in promoting the efficiency of its public service outweigh Plaintiff’s

  interest in his speech.” Dkt. No. 26 at 34.

         As explained, because the County contracted with Mr. Newton to represent indigent

  criminal defendants, the government interests that could have justified terminating Mr. Newton’s

  contract are more limited than those that might justify terminating other government employees

  or independent contractors. While the government may have some interest in regulating “certain

  administrative and possibly investigative functions” performed by the attorneys it engages to

  represent criminal defendants, such attorneys are simply “not amenable to administrative

  direction in the same sense as other employees of the State.” Polk County, 454 U.S. at 321, 325.

         Among other things, because the County has a “constitutional obligation . . . to respect

  the professional independence of the public defenders whom it engages,” disagreement with Mr.

  Newton’s “exercise of independent judgment on behalf of the client,” could not form a legitimate

  basis for terminating his contract. Id. at 321–22. And because Mr. Newton’s advocacy on behalf

  of Mr. Lovell “cannot be classified as government speech even under a generous understanding



         12
            The Lovell contract provided that the $75,000 cap could be exceeded based on a
  showing of good cause to “the court and the County.” Dkt. No. 33-4 at 3. A reasonable jury
  could find it significant that the County not only itself refused Mr. Newton’s requests for more
  than $75,000 for the appeal (apart from the remand proceeding) but also opposed his attempt to
  obtain judicial authorization of payment in excess of that amount.
                                                   36
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  of the concept,” Legal Services Corp., 531 U.S. at 542 –543, the County had no legitimate

  interest in “the exercise of employer control over what the employer has commissioned or

  created.” Garcetti, 547 U.S. at 422. It thus had no interest in limiting or regulating Mr. Newton’s

  arguments to ensure their consistency with any “particular policy of its own,” and little if any

  interest in ensuring that his “official communications are accurate, demonstrate sound judgment,

  and promote the employer’s mission.” Id. at 422, 423.13

         It does not follow that the County lacked any legitimate interests that could have

  potentially justified its actions. It undoubtedly has an interest in the wise stewardship of public

  funds. And the County may well have other legitimate interests as well, including avoiding

  contention and disruption and maintaining good working relationships with its independent

  contractors. But it almost certainly does not have a legitimate interest simply in avoiding truthful

  but negative publicity for its actions.

         The court need not decide the exact scope of the County’s interests at this time, however.

  As discussed, the court concludes that there are genuine disputes of material fact regarding what

  statements in fact formed the basis for Mr. Newton’s termination and whether these statements

  were knowingly and recklessly false. Whether the County’s interests outweigh Mr. Newton’s is

  ultimately a question of law, see supra n.9, but the court cannot perform the required balancing

  until these factual disputes are resolved.

                                               *    *       *

         For all of these reasons, the court denies Defendants’ motion for summary judgment on

  Mr. Newton’s First Amendment claim for damages against the County.



         13
           In addition, the County’s interests are weaker than with an ordinary public employee
  because Mr. Newton was an independent contractor. See Umbehr, 518 U.S. at 673.
                                                   37
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                                                  V.

         The court next turns to Mr. Newton’s First Amendment claim against the Commissioners

  in their individual capacities. The court concludes that the Commissioners are entitled to

  qualified immunity, which shields them from liability for damages for this claim.

         To overcome the Commissioners’ assertion of qualified immunity, Mr. Newton must

  show both that the Commissioners “violated a federal statutory or constitutional right,” and that

  “the unlawfulness of their conduct was clearly established at the time.” District of Columbia v.

  Wesby, 138 S. Ct. 577, 589 (2018) (internal quotation marks omitted). For the same reasons that

  the court denies Defendants’ motion for summary judgment on Mr. Newton’s First Amendment

  claim against the County, it cannot conclude, as a matter of law, that the Commissioners did not

  violate Mr. Newton’s constitutional rights.

         Whether the Commissioners are entitled to qualified immunity thus turns on whether “the

  unlawfulness of their conduct was clearly established at the time.” Wesby, 138 S. Ct. at 589.

  “Clearly established means that, at the time of the officer’s conduct, the law was sufficiently

  clear that every reasonable official would understand that what he is doing is unlawful.” Id.

  (cleaned up). Here, the court finds that the Commissioners could have reasonably believed, based

  on the Supreme Court’s decision in Garcetti, that they could terminate Mr. Newton’s contract

  based on communications made as part of his official duties without further First Amendment

  scrutiny.14



         14
            To be sure, the court has held that a reasonable jury could find that statements other
  than those identified by Defendants played a role in their decision to terminate Mr. Newton’s
  appellate contracts. See supra Part IV.B. Many of these other statements were made by Mr.
  Newton in briefing or to the media while he was representing Mr. Lovell; Defendants’ arguments
  that such statements were made as part of Mr. Newton’s official duties as Mr. Lovell’s counsel
  would apply equally to these statements. But a few such statements were made by Mr. Newton to


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         Although the court has concluded, based on the Supreme Court’s decisions in Legal

  Services Corp. and Polk County, that Garcetti does not apply to attorneys engaged by the

  government to represent indigent criminal defendants in the same way that it applies to other

  public employees, this court’s conclusion is far from clearly established. Neither Legal Services

  Corp. nor Polk County involved a public employer’s firing of a public employee or termination

  of an independent contractor. Plaintiffs have not cited, and this court has not found, any decision

  from the Supreme Court or the Tenth Circuit—or any other court, for that matter—that holds or

  even suggests that Legal Services Corp. or Polk County limits Garcetti’s application when the

  government fires or terminates its contractual relationship with an attorney it had engaged to

  represent indigent criminal defendants based on the attorney’s official speech. Given the

  complete absence of such precedent, the law was not “sufficiently clear that every reasonable

  official would understand” that the Commissioners’ actions were unlawful.15




  the Salt Lake Tribune after he withdrew as Mr. Lovell’s counsel. Given that the relatively few
  such statements made by Mr. Newton after he withdrew as Mr. Lovell’s attorney are
  substantially similar to numerous statements made in briefing and to the media by Mr. Newton
  before he withdrew as Mr. Lovell’s counsel, however—including statements that Defendants
  claim played no role in their decision—the court concludes that a jury could not reasonably find
  that the post-withdrawal statements were a but-for cause of Mr. Newton’s termination. The court
  likewise concludes that an objectively reasonable county official could have believed that
  statements made by Mr. Newton while engaged as Mr. Lovell’s attorney fully justified his
  termination under Garcetti.
         15
             Although Mr. Newton also requests declaratory relief, the Court finds that Mr. Newton
  is not entitled to a declaratory judgment against the Commissioners. Courts may grant such relief
  “only in respect to controversies which are such in the constitutional sense.” Aetna Life
  Insurance Co. v. Haworth, 300 U.S. 227, 239–40 (1937). Under binding Supreme Court
  precedent, the “question whether the defendants would have been liable apart from their defense”
  of qualified immunity is too “hypothetical” to warrant declaratory relief. Ashcroft v. Mattis, 431
  U.S. 171, 172 (1977) (per curiam). And absent evidence that Mr. Newton faces a real likelihood
  that he will be again injured in the same manner by the Commissioners, the possibility of future
  injury lacks “sufficient immediacy and reality to warrant the issuance of declaratory judgment.”
  Golden v. Zwickler, 394 U.S. 103, 108–09 (1969).
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                                                    VI.

          Mr. Newton also argues that Defendants violated the prohibition on civil conspiracies

  found in 42 U.S.C. § 1985(2). In relevant part, this statute applies to conspiracies “to deter, by

  force, intimidation or threat, any party or witness in any court of the United States from attending

  such court, or from testifying to any matter pending therein, freely, fully, and truthfully, or to

  injure such party or witness in his person or property on account of his having so attended or

  testified.”

          By its plain terms, this statute protects parties and witnesses. Mr. Newton offers no

  authority for the proposition that it protects attorneys as well. In addition, it is far from clear that

  Mr. Newton has even adequately pled a claim under this statute. While he does allege that

  “Defendants operated in concert to violate Newton’s rights, both among each other and in

  concert with the Weber County Attorney,” Dkt. No. 2 at 22, he does not even allege a separate

  claim based on Section 1985(2), let alone identify or attempt to plead the elements of such a

  claim. Rather, in the course of laying out his First Amendment claim against the Commissioners,

  he simply asserts that “Defendants are jointly and severally liable for these constitutional

  violations under 42 U.S.C. § 1983 and 42 U.S.C. § 1985(2).” Id. In his summary judgment

  briefing, Mr. Newton likewise fails to identify, much less point out evidence supporting, each

  required element of a Section 1985(2) claim. For all of these reasons, the court grants

  Defendants’ motion for summary judgment on this claim.

                                             CONCLUSION

          Defendants’ motion for summary judgment is GRANTED with respect to the First

  Amendment claim against the Commissioners in their individual capacities and the Section




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  1985(2) claim. The motion is DENIED with respect to the First Amendment claim against the

  County.

         IT IS SO ORDERED.

                                            DATED this 30th day of September, 2020.

                                            BY THE COURT:




                                            Howard C. Nielson, Jr.
                                            United States District Judge




                                              41
